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                     UNITED STATES DISTRICT COURT FOR
                     THE WESTERN DISTRICT OF NEW YORK

                          CASE NO: 1:20-mc-00040-LJV

 ANTONIO CABALLERO,

        Plaintiff,

 vs.

 FUERZAS ARMADAS
 REVOLUCIONARIAS DE COLOMBIA,
 a/k/a FARC-EP a/k/a
 REVOLUTIONARY ARMED FORCES
 OF COLOMBIA; and THE NORTE DE
 VALLE CARTEL,

      Defendants.
 ___________________________________/

                PLAINTIFF ANTONIO CABALLERO’S
       NOTICE OF PARTIAL SATISFACTION OF FINAL JUDGMENT

       Plaintiff, Antonio Caballero, by and through undersigned counsel, hereby

represents to the Court that collections have partially satisfied the non-trebled

portion of his compensatory damages award such that the balance, without interest,

due on the non-trebled portion of his compensatory damages set forth in his final

judgment is currently $36,803,581.50, which is the amount he is seeking to attach

within this Court’s jurisdiction.

       DATED this 29th day of January 2021.
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                           Respectfully Submitted,

                           ZUMPANO PATRICIOS, P.A.

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